1. "When the plaintiff in a trover suit has replevied the property and, on the trial of the case, fails to recover or dismisses his petition, the defendant, instead of suing on the replevy bond, may recover the property and its hire, or the sworn value placed upon the property in the petition." Code, § 107-209.
2. In the absence of proof of fraud, or of a mutual mistake of law as to the effect of such voluntary dismissal, the court has no authority or discretion to reinstate the case over the objection of the defendant; and has no alternative than to enter up restitution judgment on motion by the defendant.
3. No fraud or mutual mistake of law being proved in the instant case, the court did not err in refusing to reinstate, and in entering judgment for the defendant for the sworn value of the property.
4. The brief of the defendant in error contains references not entirely courteous to opposing counsel, and such expressions should not be found in a brief. Furthermore, the brief contains certain facts not found in the record. No such expression, not found in the record, should have been included in the brief.
          DECIDED JUNE 9, 1948. REHEARING DENIED JULY 26, 1948.
On May 24, 1947, Charles E. Stewart filed an action of bail trover in the Superior Court of Lowndes County, Georgia, against James L. Hasty, d/b/a Hasty's Body and Fender Works, for the recovery of an automobile. When Hasty failed to furnish bond, Stewart on the same day filed bond and took possession of the automobile. On July 12, 1947, the plaintiff's attorney dismissed this action in writing on the petition and filed it with the clerk and on the same day filed a second bail-trover suit on *Page 525 
the same cause of action against the Hasty Body and Fender Works, a partnership composed of James L. Hasty and V. E. Hasty. Upon the call of the docket at the opening of the November term of said court on November 17, 1947, when the plaintiff's order of dismissal of the first suit was entered upon the docket, counsel representing James L. Hasty moved for a restitution judgment because of the voluntary dismissal of the bail trover suit against his client, in response to which on the next day, November 18, the plaintiff by his counsel in writing moved the court to reinstate said case which had been dismissed. Prior to the hearing on this motion for reinstatement, but after the call of the docket and the defendant's motion for a restitution judgment, the plaintiff filed bond for the production of the automobile in the second trover case. The defendant, James L. Hasty, filed no answer to the first suit; however, the partnership answered the second suit and the same, having been continued for providential cause, now stands ready for trial.
At the hearing on the motion to reinstate on November 21, 1947, plaintiff's counsel stated in his place (the equivalent of testifying) that counsel for the defendant called him on the telephone, informed him that Hasty's Body and Fender Works was a partnership, composed of James L. Hasty and V. E. Hasty, and requested that he (plaintiff's counsel) amend the suit to include the partnership, agreeing that if the suit were amended the defendant would make no objection to the amendment; that later counsel for both parties met in the office of the clerk of court, and that at this time counsel for the defendant agreed to the plaintiff's dismissing the first suit and filing a second suit to include the partnership, saying that if the proper parties were not included he would file a plea in abatement; and that he (counsel for the plaintiff) relied in good faith upon counsel for the defendant's representation that, if the first suit were dismissed and a second suit filed against the proper parties, he would raise no point of law against the dismissal of the first suit and would proceed to trial on the merits of the case, and that counsel for the plaintiff was misled by these representations of counsel for the defendant and by a mistake of law as to the effect of the dismissal of said case. The plaintiff's counsel asked that the first suit be reinstated on the docket to obviate the mutual mistake of law of the parties. *Page 526 
Counsel for the defendant stated in his place that he had met counsel for the plaintiff in the office of the clerk of the superior court and had told him that Hasty Brothers was a partnership and that it was his intention to file a plea of abatement in the case; that he as counsel for the defendant had requested that the plaintiff amend his suit to include the other partner and that he would consent to the amendment and would try the case on its merits; that several days later he was in the clerk's office and found that the case had been dismissed and a new case filed against the partnership; that he does not remember any other conversation about the matter; and that he had learned at the time of the call of the docket at the present term that counsel for the plaintiff was ignorant of the law concerning the effect of his dismissal and the resulting restitution judgment, and was confident that the plaintiff's counsel only became aware of this effect of the dismissal during the present term of court when he was informed that counsel for the defendant intended to make a motion for restitution judgment.
Following the foregoing argument of counsel, the judge entered this judgment: "The within motion to reinstate said case having come on before me for a hearing, and after hearing arguments on both sides the motion is hereby overruled." The court then orally stated: "It is mandatory upon me to allow the defendant to enter up a restitution judgment for $500 [the sworn value placed upon the automobile in the first petition];" and thereupon a written restitution judgment in the usual form was entered for the defendant on his motion.
1. Code § 107-209, provides: "When the plaintiff in a trover suit has replevied the property and, on the trial of the case, fails to recover or dismisses his petition, the defendant, instead of suing on the replevy bond, may recover the property and its hire, or the sworn value placed upon the property in the petition."
This provision of our Code was codified from the case ofMarshall v. Livingston, 77 Ga. 21 (1), wherein the rule is thus stated: "Where an action of trover was brought and bail process *Page 527 
was sued out, and upon the failure of the defendant to give the bond required, the plaintiff gave bond and security, and the property was delivered to him, if he voluntarily dismissed his action of trover, this amounted in law to a judgment of restitution, and ipso facto upon such dismissal, entitled the defendant to a writ of restitution, or, where it was impossible to restore the subject of the action in kind, to a writ of fierifacias for the value thereof."
"As against the replevying party, a judgment may be entered on such bond by the court for the value of the property replevied, as stated in the pleading of such party and in the bond given by him; and it is not necessary to bring suit on the bond or to have a jury trial." Pope v. Scott, 143 Ga. 275, 276 (2a) (84 S.E. 582), and cit.
Although the defendant in such an instance of voluntary dismissal by the plaintiff is ordinarily entitled to restitution judgment ipso facto, where the dismissal is obtained by fraud, or is due to "a mutual mistake of law upon the part of counsel for both parties as to its effect, and upon an implied, if not an express understanding that the only effect of the dismissal would be a mere failure by the plaintiff to recover in this action, and during the same term the plaintiff in resistance to a motion of the defendant to enter a judgment upon the bond, made a motion to reinstate the bail-trover action for the purpose of having the same tried upon its merits," it will be reinstated. Seals v.Stocks, 100 Ga. 10 (30 S.E. 278).
However, in the absence of a showing of fraud or of a mutual mistake of law, or the like, "when a plaintiff by his counsel voluntarily dismisses his petition, whether for a good or a bad reason, the court has no authority (or discretion), over objection by the defendant, to reinstate the action." Simpson
v. Brock, 114 Ga. 294 (40 S.E. 266); Petty v. PiedmontFertilizer Co., 146 Ga. 149, 150 (90 S.E. 966). In such event it follows that "where the plaintiff fails in the proceeding, that all rights acquired by virtue of that proceeding must fall with it. The foundation being destroyed, all that rests upon it must go also. Although a dismissal may not preclude the plaintiff from gaining possession by another and like process, or from establishing his right to the property in some future proceeding, the necessary result is that *Page 528 
he is not entitled to hold it under color of a process which no longer subsists. The law, which by virtue of that process took the property from the defendant and placed it in the hands of the plaintiff, puts it back where it came from, or requires the plaintiff to pay over its value. By the dismissal the liability under the bond for the forthcoming of the property becomes fixed, and under the terms of the statute judgment may be signed up against the principal and surety `and execution had thereon without further proceeding.' Code, §§ [107-202, 203]." Thomas
v. Price, 88 Ga. 533, 534 (15 S.E. 11).
In the instant case, the judge was authorized to find, as alleged by the defendant's counsel, that the only agreement between the parties was as to the amending of the first suit to include the proper parties; that the only legal rights which the defendant agreed to waive, if any, had the plaintiff acted upon the agreement between counsel as made, were his right to object to the proposed amendment and his right to file and urge a plea in abatement; and that no fraud or mutual mistake of law of the parties was proved. The facts of this case differentiate it from the cases cited by counsel for the defendant in error; and the agreement of counsel for the defendant to waive his objection to a proffered amendment can in no manner be construed to be substantially the same as a waiver of his right to move for a restitution judgment after a voluntary dismissal by the plaintiff because the consequences of the two courses of action are decidedly different in the contemplation of the law. The plaintiff, having chosen to pursue the harsh action of bail trover, must be prepared to suffer the harsh consequences if all does not go in his favor in the action. When the court found that there was no fraud or mutual mistake of law in the instant case, he had no discretion to reinstate the case and had no alternative other than to enter up such restitution judgment for the defendant on the defendant's motion. Petty v. PiedmontFertilizer Co., supra.
When the court found that no fraud, mutual mistake of law, or the like, was shown as a ground for reinstatement and entered a judgment accordingly, it was not reversible error to state orally, "It is mandatory upon me to allow the defendant to enter up a restitution judgment," and thereupon to sign and to file a written judgment of restitution in the usual form in accordance with the defendant's motion. *Page 529 
2. The provision of Rule Five (Code, Ann., § 24-3605) of the rules of this court strictly prohibits remarks discourteous to opposing counsel, and is applicable no less to written arguments than to oral. The brief of the defendant in error contains references not entirely courteous to opposing counsel, and such expressions should not be found in a brief. Furthermore, the brief contains in its argument certain facts not found in the record. No such expression not found in the record should have been included in the brief. Under the circumstances disclosed by the record the motion to remand the offending brief to counsel (in order that the personal allusions therein may be stricken prior to its consideration by this court) is overruled, the court choosing rather to forbear at this time to take any further action in the matter. However, it is expected that in the future counsel will hold himself within the bounds of this rule.
Judgment affirmed. Gardner and Townsend, JJ., concur.